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Petition for Writ of Mandamus Denied and Opinion filed
October 31, 2002.

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In The

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Fourteenth Court of Appeals

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NO. 14-02-01071-CV

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IN RE DAVID CRAIG JACKSON, Relator

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ORIGINAL
PROCEEDING

WRIT
OF MANDAMUS

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O P I N I O N

On October 21, 2002, relator
filed a petition for writ of mandamus in this Court.&nbsp; See Tex.
Gov=t. Code Ann. ' 22.221 (Vernon Supp. 2002);&nbsp; see also
Tex. R. App. P. 52.

We deny relator=s petition for writ of mandamus.

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PER CURIAM

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Petition Denied
and Opinion filed October 31, 2002.

Panel consists of
Justices Edelman, Seymore, and Guzman.

Do Not Publish ‑ Tex. R. App. P. 47.3(b).





